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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



ELECTRONIC PRIVACY                  )
     INFORMATION CENTER,            )
                                    )                           Case No. 1:13-cv-01961-KBJ
      Plaintiff,                    )
                                    )
      v.                            )
                                    )
UNITED STATES                       )
      DEPARTMENT OF JUSTICE,        )
                                    )
      Defendant.                    )
____________________________________)

     NOTICE OF FILING SUPPLEMENTAL DECLARATION OF DAVID M. HARDY

        Due to an administrative error, the Declaration of David M. Hardy filed with defendant’s

Motion for Summary Judgment (ECF No. 22; see also ECF No. 23) did not address 19

documents listed on defendant’s Vaughn index, which was submitted as an exhibit to the

Declaration of Mark A. Bradley. As noted on the Vaughn index, the documents in question have

been withheld in full pursuant to 5 U.S.C. § 552(b)(1), (3), & (7)(E). Defendant now files

herewith a supplemental declaration of Mr. Hardy to explain the withholding of these documents

under the rationales already explained in Mr. Hardy’s first declaration. Undersigned counsel has

discussed the inadvertent omission in Mr. Hardy’s first declaration with counsel for plaintiff, and

counsel for plaintiff stated that plaintiff still plans to file its cross-motion and opposition

according to the current schedule.

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Dated November 7, 2014             Respectfully submitted,

                                   JOYCE R. BRANDA
                                   Acting Assistant Attorney General

                                   RONALD C. MACHEN
                                   United States Attorney

                                   ELIZABETH J. SHAPIRO
                                   Deputy Branch Director

                                     /s/ Steven Y. Bressler
                                   STEVEN Y. BRESSLER
                                   Senior Counsel
                                   U.S. Department of Justice, Civil Division
                                   Federal Programs Branch
                                   P.O. Box 883
                                   Washington, D.C. 20044

                                   Counsel for Defendant
